         Case 1:22-mj-00076-GMH Document 22 Filed 04/18/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        )
                                                )
                v.                              )       21-MJ-76 (GMH)
                                                )
ARIAN TAHERZADEH                                )


ARIAN TAHERZADEH’S RESPONSE TO THE COURT’S ORDER AND OPPOSITION
           TO THE GOVERNMENT’S EX PARTE REQUEST TO
                AMEND THE CRIMINAL COMPLAINT

        Arian Taherzadeh, through counsel, respectfully notes his opposition to the government’s

ex parte effort to amend the criminal complaint. First, while the government has since provided

a copy of its motion and the proposed amended complaint, Mr. Taherzadeh notes that it was

inappropriate to file the motion as an ex parte motion. There is no provision for doing so in the

Federal Rules of Criminal Procedure, and doing so runs counter to the well-established rule that

ex parte communications between the government and the Court in criminal cases are “greatly

discouraged and should only be permitted in the rarest of circumstances.” United States v.

Napua, 834 F.2d 1311 (7th Cir. 1987). See also United States v. Presser, 828 F.2d 330 (6th Cir.

1987); United States v. Rezaq, F.Supp. 697 (D.D.C. 1997); United States v. Stevens, 2008 WL

8743218 (D.D.C 2008). Ex parte filings are even to be “rare” in the context of classified information,

which this is not. See e.g. United States v Libby, 429 F. Supp. 46 (D.D.C. 2006) (“in those rare

situations where the government is compelled to make an ex parte [CIPA] Section 4 filing

containing arguments in support of immateriality, the government should fully explain why the

ex parte filing is necessary and appropriate. The Court will then carefully scrutinize any such

filing to determine whether it should remain an ex parte filing or whether it should be served on

the defendant”).

                                                    1
         Case 1:22-mj-00076-GMH Document 22 Filed 04/18/22 Page 2 of 3




       This Court has similarly ruled in a civil case that ex parte filings are rarely appropriate. In

FTC v. Boehringer Ingelheim Pharmaceuticals, Inc., 180 F. Supp. 3d 1 (D.D.C. 2016), this Court

noted, “under the law in this Circuit, ‘the use of ex parte affidavits is disfavored’” citing

Armstrong v. Exec. Office of the President, 97 F.3d 575, 580 (D.C.Cir.1996) and Lykins v. Dep't

of Justice, 725 F.2d 1455, 1465 (D.C.Cir.1984). As this Court noted, “cases warranting the use

of ex parte affidavits are usually limited to those implicating national security matters or grand

jury proceedings.” Id. And, this Court noted, “even when ex parte affidavits are permitted, the

D.C. Circuit requires the Court to find that the interests of the adversary process are outweighed

by other crucial interests,” citing Armstrong, 97 F.3d at 580. No such interests existed here and it

was inappropriate to file the motion ex parte.

       The substantive issue the government seeks is equally dubious. The government cites no

authority – statutory or otherwise – authorizing the amendment of a criminal complaint at this

state of the proceeding. Mr. Taherzadeh was already arrested on a criminal complaint charging

him with impersonation of a federal officer in violation of 18 U.S.C. 921, and was ordered

released on conditions. There is no basis to amend the criminal complaint more than a week after

his arrest as it serves no valid purpose. Impersonation of a federal officer remains the sole

charge. Despite the affidavit’s mention of “conspiracy” in paragraph 6, conspiracy is not a

charged offense. The government is not seeking to modify the release conditions already

imposed by the Court, and for good reason, as there is no basis for doing so.

        The government is understandably concerned that the mistakes in the criminal complaint

will be fodder for cross-examination at some later date as either the witness, the affiant or both

changed their story, but that can neither be cured by an amended complaint nor is it a basis to

add additional allegations in an amended complaint. Moreover, from the pleading, it is obvious



                                                  2
         Case 1:22-mj-00076-GMH Document 22 Filed 04/18/22 Page 3 of 3




that the government has Brady material that has yet to be disclosed. As the Court advised the

government at the initial appearance, the government is required to provide such material in a

timely fashion, i.e., now.

       Mr. Taherzadeh has already been arrested and had his initial appearance and detention

hearing based upon the original complaint. The defendant objects to the government’s proposed

course of action as it is highly irregular, without purpose, and not countenanced by the Federal

Rules of Criminal Procedure.

                                                     Respectfully submitted,


                                                     A. J. KRAMER
                                                     FEDERAL PUBLIC DEFENDER
                                                               /s/
                                                     _____________________________
                                                     Michelle Peterson
                                                     Chief Assistant Federal Public Defender
                                                     625 Indiana Avenue, NW
                                                     Washington, DC 20004
                                                     (202) 208-7500
                                                     Shelli_Peterson@fd.org




                                                3
